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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:
                                                                        Case No. 24-22204-shl
         AZG SALES INC.

                                   Debtor.

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                         NOTICE OF APPEARANCE AND REQUEST
                      FOR NOTICE PURSUANT TO BANKRUPTCY RULE


         PLEASE TAKE NOTICE that the undersigned appear for JPMORGAN CHASE

BANK, N.A., a Creditor of the Debtor.

         REQUEST IS HEREBY MADE, pursuant to Bankruptcy Rule, that all notices to which

JPMORGAN CHASE BANK, N.A. is entitled (including, but not limited to, all papers filed and

served in all adversary proceedings in such case, and all notices mailed to the statutory

committees or their authorized agents, as such may be duly appointed or designated, and to

creditors and equity security holders who file with the Court and request that all notices be

mailed to them) shall be directed to the undersigned.

         REQUEST IS HEREBY FURTHER MADE that the foregoing request includes not

only notices and papers referred to in Bankruptcy Rule 2002, but also includes, without

limitation, orders and notices of any application, motion petition, pleading, request, complaint or

demand, whether formal or informal, whether written or oral, and whether transmitted or
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conveyed by mail, hand delivery, telephone, telegraphs, telex or otherwise, that affect the

above-captioned Debtor or the property of such Debtor's estate.


Dated: White Plains, New York
       April 16, 2024


                                              s/ A. Albert Buonamici
                                              ________________________________________
                                              BUONAMICI & LARAUS, LLP
                                              By: A. ALBERT BUONAMICI, ESQ. (AB3022)
                                              Attorneys for JPMORGAN CHASE BANK, N.A.
                                              222 Bloomingdale Road
                                              Suite 301
                                              White Plains, New York 10605
                                              (914) 288-9200



TO:    United States Bankruptcy Court
       Southern District of New York
       300 Quarropas Street
       White Plains, NY 10601

       Charles Wertman, Esq.
       100 Merrick Road Suite 304W
       Rockville Centre, NY 11570
       516-284-0900
       charles@cwertmanlaw.com

       Yann Geron
       Geron Legal Advisors LLC
       370 Lexington Avenue
       Suite 1101
       New York, NY 10017
       646-560-3224

       U.S. Trustee
       Annie Wells, Esq.
       DOJ-UST
       Alexander Hamilton Custom House
       One Bowling Green
       Suite 511
       New York, NY 10004
       212-510-0500
       annie.wells@usdoj.gov

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STATE OF NEW YORK                     )
                                      ) SS.:
COUNTY OF WESTCHESTER                 )

        A. ALBERT BUONAMICI, an attorney duly admitted to practice before the Courts of the
State of New York, affirms under the penalties of perjury that:

     I am not a party to the action, and am over 18 years of age and reside at White Plains,
New York.

       On April 16, 2024, deponent served a Notice of Appearance and Request for Notice
Pursuant to Bankruptcy Rule upon:

       United States Bankruptcy Court                        U.S. Trustee
       Southern District of New York                         Annie Wells, Esq.
       300 Quarropas Street                                  DOJ-Ust
       White Plains, NY 10601                                Alexander Hamilton Custom House
                                                             One Bowling Green
       Charles Wertman, Esq.                                 Suite 511
       100 Merrick Road Suite 304W                           New York, NY 10004
       Rockville Centre, NY 11570

       Yann Geron
       Geron Legal Advisors LLC
       370 Lexington Avenue
       Suite 1101
       New York, NY 10017




by mailing the same in a sealed envelope, with postage prepaid thereon, in a post-office or
official depository of the U.S. Postal Service within the State of New York, addressed to the last
known address of the attorney as indicated above.

Dated: White Plains, New York
       April 16, 2024
                                               s/ A. Albert Buonamici
                                               ______________________________
                                               A. ALBERT BUONAMICI
                                               Attorney at Law




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------x

In re:
                                                                        Case No. 24-22204-shl
         AZG SALES INC.

                                   Debtor.

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                                       NOTICE OF APPEARANCE




                                                LAW OFFICES OF



                                     BUONAMICI & LARAUS, LLP
                                          Attorneys for Creditor
                                       JPMorgan Chase Bank, N.A.
                                    222 Bloomingdale Road Suite 301
                                      White Plains, New York 10605
                                             (914) 288-9200
